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                          UNITED STATES DISTRICT COURT

                             DISTRICT OF SOUTH DAKOTA

                                   SOUTHERN DIVISION


     UNITED STATES OF AMERICA,                             4:23-CR-40092-KES
                      Plaintiff,                    GRANTING IN PART AND
                                                       DENYING IN PART
          vs.                                      GOVERNMENT’S MOTION TO
                                                        RECONSIDER
     LUCAS EWALD AHRENDT,

                      Defendant.



        Pending before the court is the Government’s motion to reconsider the

court’s order granting in part and denying in part Ahrendt’s motion to

suppress. Docket 49; Docket 44. The Government does not object to the court’s

overall conclusions regarding whether the evidence should be suppressed. See

Docket 49. Instead, the Government requests only that the court to omit two

words in the court’s initial order. Id. Defendant, Lucas Ahrendt, objects to the

Government’s motion. Docket 57. For the following reasons, after carefully

considering the parties’ submissions and the court’s previous suppression

order, the court grants in part and denies in part the Government’s motion.

I.      Procedural Background

        On August 1, 2023, the Government filed an indictment charging

Ahrendt with two counts of illegally possessing a firearm. Docket 1. 1 Among


1 Ahrendt has since pleaded guilty to Count 2 of the Indictment (Receipt of a

Firearm By a Person Under a Felony Indictment in violation of 18 U.S.C.
§ 922(n)). See Docket 51.
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other things, Ahrendt moved to suppress evidence of the firearms found in his

possession, arguing the officers found them by violating his Fourth

Amendment Rights. See Docket 21; Docket 21-1. With respect to the Fourth

Amendment issue, Magistrate Judge Duffy issued a Report and

Recommendation recommending the court deny Ahrendt’s motion. Docket 29

at 36. The court agreed with the Report’s ultimate conclusion on this issue and

adopted (with modification) the Report’s recommendation. Docket 44 at 9-31.

      At issue in the Government’s motion is the court’s discussion about

whether law enforcement officers had effectuated a de facto arrest during their

interactions with Ahrendt. Docket 49. Specifically, the court found Officer

VanDiepen’s testimony that Ahrendt was “free to stand outside with [an] officer

in the cold if he so chose[,]” was “uncredible and unrealistic.” See Docket 44 at

29. The Government objects only to the words “uncredible and.” Docket 49 at

1.

II.   Discussion

      In the context of suppression motions, a party may either (1) move to

reopen a suppression hearing; or (2) move the court to reconsider its order on

suppression. See United States v. Gill, 513 F.3d 836, 846 (8th Cir. 2008);

United States v. Thompson, 580 F. Supp. 3d 503, 506 (N.D. Ohio 2022)

(evaluating both a motion to reopen and motion to reconsider). Here, the

Government asks the court to reconsider the order denying Ahrendt’s motion to

suppress and does not seek to reopen the suppression hearing. See generally

Docket 49. So the court must determine the appropriate standard to apply.


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      Unlike the Federal Rules of Civil Procedure, the Federal Rules of Criminal

Procedure do not expressly provide for motions to reconsider. Compare Fed. R.

Civ. P. 59(e) or 60(b), with generally Fed. R. Crim. P.; see also United States v.

Loera, 182 F.Supp.3d 1173, 1201 (D.N.M. 2016); United States v. Foster, 763

F.Supp.2d 1086, 1087 (D. Minn. 2011). In United States v. Luger, although not

expressly adopting the approach, the Eighth Circuit recognized that other

circuits have applied the civil rules of reconsideration standards in the criminal

context “outside of the suppression context.” See 837 F.3d 870, 875-76. The

court recognizes that the Government’s motion here does indeed arise in the

suppression context, but nevertheless believes Luger referred to matters

“outside of the suppression context” because it recognized that motions to

reconsider and motions to reopen suppression hearings are often interrelated.

See, e.g., United States v. Laws, 819 F.3d 388, 396 (8th Cir. 2016) (using terms

motion to reconsider and motion to reopen interchangeably); United States v.

Huff, 782 F.3d 1221, 1224 (10th Cir. 2015) (same); United States v. Tisdol, 450

F.Supp.2d 191, 194 (D. Conn. 2006) (same); United States v. Maloid, 2016 WL

1175147, at *1-2 (M.D. La. Mar. 24, 2016) (evaluating government’s motion to

reopen and resultant motion to reconsider court’s previous order granting

defendant’s suppression motion). Here, because the Government does not move

to reopen the suppression hearing and instead asks the court to reconsider a

single sentence of its order, the court finds it appropriate to apply the

reconsideration standards from the civil context when addressing the

Government’s motion. See, e.g., United States v. Vear, 2016 WL 4994963, at *1


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(D. Nev. 2016) (applying civil standards in reconsideration motion of

suppression order); see also United States v. Christy, 739 F.3d 534, 539-40

(10th Cir. 2014) (same).

      In the civil context, motions for reconsider “serve[] the limited function of

correcting manifest errors of law or fact or . . . present[ing] newly discovered

evidence.” Luger, 837 F.3d at 875 (quoting Bradley Timberland Res. v. Bradley

Lumber Co., 712 F.3d 401, 407 (8th Cir. 2013) (first alteration added and

second alteration in original)). Here, the government does not identify any

“manifest error of law or fact,” nor has it “present[ed] newly discovered

evidence.” See id. To the contrary, the Government admits it “appreciate[s] the

point the Court [was] making—that the ‘choice’ presented to Ahrendt in this

situation was not really a choice at all, given the harsh weather conditions.”

Docket 49 at 2. In fact, the Government does not object to the order stating

that Officer VanDiepen’s suggestion was “unrealistic.” Id. at 1. Instead, the

Government only argues reconsideration is appropriate because the court did

not need to reach the specific issue of Officer VanDiepen’s credibility, neither

party raised any argument related to VanDiepen’s credibility, and the Report

and Recommendation did not reach this issue. See id. at 1-3.

      None of these arguments are persuasive. The court discussed Officer

VanDiepen’s credibility (specifically as it related to whether he gave Ahrendt a

choice to stay outside or forced him to go in the back of a police car) to

determine whether law enforcement officers had engaged in a de facto arrest of

Ahrendt. See Docket 44 at 29-30. In making this determination, one factor to


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consider is whether officers could have used less intrusive or threatening

means. See United States v. Childers, 73 F.4th 960, 963 (8th Cir. 2023). Part of

this analysis includes factors such as whether law enforcement placed

suspects in the back of squad cars. See id. at 964-65. And one of the related

factors the court must consider is the extent to which law enforcement

unreasonably dictated defendant’s every move. See United States v. Sanford,

813 F.3d at 712-13 (8th Cir. 2016) (explaining that “a de facto arrest occurs

when the officer’s conduct is more intrusive than necessary for a Terry

investigative stop”).

      Determining whether Officer VanDiepen forced Ahrendt into the back of

the police car or whether Officer VanDiepen gave him a choice to stay outside

directly relates to whether Officer VanDiepen acted more intrusively than

necessary. To complete a thorough discussion of this factor, the court

appropriately evaluated the totality of circumstances surrounding Officer

VanDiepen’s decision to take Ahrendt to the back of the patrol car. See Docket

44 at 29-30; see also Sanford, 813 F.3d at 712 (“There is no clear line between

investigative stops and de facto arrests”); United States v. Maltaois, 403 F.3d

550, 555-56 (8th Cir. 2005) (explaining that the court must consider the “facts

and circumstances” the officers faced when determining whether officers used

the least intrusive means). Even though the parties did not explicitly discuss

Officer VanDiepen’s credibility, a witness’s credibility is always at issue when

considering the totality of circumstances. See United States v. Rohrbach, 813

F.2d 142, 145 (8th Cir. 1987) (“Having reviewed the transcript of the


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suppression hearing, we see no reason to overturn this determination by the

able District Judge, who heard the witnesses and who necessarily evaluated

their relative credibility and persuasiveness.” (emphasis added)). Furthermore,

the Government’s observation that the Report and Recommendation made no

credibility determinations of Officer VanDiepen is irrelevant because the scope

of the Report and Recommendation’s factual findings does not bind the court.

See United States v. Hayden, 759 F.3d 842, 846 (8th Cir. 2014) (“[T]he district

court has discretion to receive new evidence without any special justification

while conducting de novo review of a magistrate judge’s report and

recommendation.”). The court appropriately considered Officer VanDiepen’s

testimony and weighed it, along with all of the other relevant factors and

circumstances, in making its determination regarding whether officers engaged

in a de facto arrest of Ahrendt. In short, the court rejects the Government’s

argument that the court needlessly discussed the issue, that the court should

not have discussed it given neither party raised it, and that the court should

not have reached it given the Report did not discuss it.

      At bottom, the Government’s primary concern is to protect Officer

VanDiepen’s reputation and future career. See Docket 49 at 3. The Government

explicitly states its desire to protect Officer VanDiepen’s “reputation for honesty

and truthfulness” and that the court’s initial order finding that he was not

credible “can potentially carry significant consequences that will follow that

officer throughout his career.” Id. But the court’s job is not to protect anyone’s,

much less a law enforcement officer’s, reputation. Granting a motion to


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reconsider solely for the purpose of insulating an officer from possible

ramifications on his career would be inappropriate and would extend well

beyond the purposes for which motions to reconsider exist. See Luger, 837 F.3d

at 875.

      At the same time, the court recognizes that its previous order did not

explicitly state why precisely it found Officer Van Diepen’s suggestion to be

“uncredible.” Docket 44 at 29. A witness can be uncredible for a number of

reasons, such as (but not limited to) intentionally lying, purposefully

exaggerating, merely forgetting, or making an honest (but miscalculated)

judgment, having poor perception of an event (e.g. the witness had a poor view

of the events about which they testified). These are all reason for a witness to

be uncredible, but not all of them involve a witness necessarily lying or

purposefully obfuscating the truth. Thus, the court finds it appropriate to

clarify that in stating Officer Van Diepen’s testimony that Ahrendt “was free to

stand outside with [an] officer in the cold if he so chose” was uncredible, see

Docket 44 at 29, the court does not find that Officer Van Diepen intentionally

lied to the court or purposefully exaggerated. Rather, the court finds Officer

Van Diepen’s testimony to be uncredible because the court disagrees with his

judgment of the situation given the extreme weather. In short, nothing about

the court’s original order or this current order should be construed to suggest

that the court found Officer Van Diepen intentionally lied or exaggerated to the

court. Nevertheless, the evidence still supports a finding that Officer Van

Diepen’s testimony that Ahrendt was free to stand outside despite the extreme


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weather to be uncredible, because Officer Van Diepen made a miscalculated

judgment.

III.   Conclusion
       For these reasons, the Government’s motion to reconsider (Docket 49) is

GRANTED IN PART AND DENIED IN PART. The court’s discussion clarifying

the reasons for why it found Officer Van Diepen’s testimony to be uncredible

shall be incorporated into the court’s previous order.

       Dated April 22, 2024.


                                     BY THE COURT:

                                     /s/ Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE




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